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             EXHIBIT B
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From:            Terry Dawes
To:              "Michael C. Dennis"
Cc:              Margaret Kitchen; Michelle Thomas
Subject:         RE: Milda Matilla # 13106
Date:            Wednesday, April 30, 2014 2:10:25 PM



Mr. Dennis,

I left a message on your voice mail. Sorry for not contacting you sooner. Please call me at 248-
355-5555 to speak about the situation with Mrs. Matilla. In an effort to avoid phone tag, please
feel free to speak to my Legal Assistant, Margaret or my Paralegal, Michelle, to schedule a phone
conference at a mutually convenient time.

I look forward to speaking to you.

Terry Dawes, Esq.




Fieger, Fieger, Kenney, Giroux
& Harrington P.C.
19390 W. 10 Mile Rd.
Southfield MI 48075
Phone:(248)355-5555
Direct Dial: (248)945-7515
Fax:(248)355-5148


From: Michael C. Dennis [mailto:mdennis@msapc.net]
Sent: Thursday, April 10, 2014 9:13 AM
To: Terry Dawes
Subject: Milda Matilla

Mr. Dawes,

Our office has been retained by Select Specialty Hospital - Ann Arbor (“SSH”) to assist them in
pursuing the reimbursement for services provided to your client, Milda Matilla, for injuries arising
out of the administration of a contaminated injectable steroid of methylprednisolone acetate
("MPA") she received in October, 2012. Specifically, SSH seeking reimbursement in the amount of
$501,515.23 for extensive medical, therapeutic, and rehabilitative services rendered to her from
December 27, 2012 through April 12, 2013.

We understand that Medicare has denied SSH’s claims because your firm has asserted a products
liability claim against the manufacturer of the tainted injection New England Compounding
Pharmacy, Inc on Mrs. Matilla’s behalf. We also know that on December 21, 2012, the
pharmaceutical company filed for Chapter 11 bankruptcy protection in the Massachusetts District
Bankruptcy Court and that all litigation against the pharmaceutical company , including Mrs.
Matilla’s lawsuit, has been “stayed” while the case is pending.
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Please contact me at your convenience to discuss the status of your case for Mrs. Matilla and how
we may work together to the mutual benefit of our respective clients. It’s SSH’s goal that Medicare
reconsider its denial and refer its claims to a Medicare Secondary Payer Recovery Contractor
(“MSPRC”) for conditional payment.

Thanks,

Michael C. Dennis, Esq.
Miller & Tischler, P.C.
28470 W. 13 Mile Road, Suite 300
Farmington Hills, MI 48334
Office: (248) 945-1040
Fax: (248) 536-5042
http://www.millertischler.com

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